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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                                 CIVIL ACTION NO. 12-10885-WGY

ANTONIO JONES, pro se,
    Plaintiff,

v.

STEVEN LEGERE, et al.,
     Defendants.


                                           ANSWER

        NOW come Massachusetts Department of Correction (“Department”) defendants,

Joe Freitas, Bruce Gelb, Keith Houle, Jeffrey Bussiere, Matthew Way, Ryan Burke,

Michael Farley, Steven Legere, and the Department (collectively as “Defendants”)1, and

answer as follows:

                                      INTRODUCTION

        The allegations contained in this paragraph are by way of an introductory

statement to which no response is required.

                                       JURISDICTION

        The allegation contained under this heading is a conclusion of law to which no

response is required.

                 EXHAUSTION OF ADMINISTRATIVE REMEDIES

        Defendants admit that plaintiff filed grievances; however, at this time, they are

without sufficient knowledge as to whether plaintiff fully exhausted his administrative




1
        The other named Department defendants have been dismissed from the case. The medical
defendants are represented by separate counsel.
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remedies with respect to all claims and all defendants, and this allegation is, therefore,

denied.

                                         PARTIES

2.        Defendants admit that plaintiff was incarcerated at Souza-Baranowski

Correctional Center (“SBCC”) during the events described in this action.

3.        Defendants admit that Harold Clarke was the Commissioner of the Department.

He is no longer a defendant in this case, and, therefore, no further response is required.

4.        Defendants admit that defendant Bruce Gelb was the Deputy Superintendent of

Operations at SBCC. The remaining allegation is a conclusion of law to which no

response is required.

5.        Defendants admit that Thomas Dickhaut was the Superintendent at SBCC. He is

no longer a defendant in this case, and, therefore, no further response is required.

6.        Defendants admit that Scot Haverty was a Captain at SBCC. He is no longer a

defendant in this case, and, therefore, no further response is required.

7.        Defendants admit that defendant Steven Legere was a Lieutenant at SBCC. The

remaining allegation is a conclusion of law to which no response is required.

8.        Defendants admit that Robby Dodd was a Lieutenant at SBCC. He is no longer a

defendant in this case, and, therefore, no further response is required.

9.        Defendants admit that defendant Joe Freitas was a Lieutenant in Special

Operations. The remaining allegation is a conclusion of law to which no response is

required.

10.       Defendants admit that defendant Michael Farley was a Sergeant at SBCC. The

remaining allegation is a conclusion of law to which no response is required.




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11.     Defendants admit that John Houle was a Sergeant. He is no longer a defendant in

this case, and, therefore, no further response is required.

12.     Defendants are unaware of a Joseph Cummings who was a Sergeant at SBCC. In

any event, he is no longer a defendant in this case, and, therefore, no further response is

required.

13.     Defendants admit that Paul Ouelette was a Correction Officer at SBCC. He is no

longer a defendant in this case, and, therefore, no further response is required.

14.     Defendants admit that defendant Keith Houle was a Sergeant at SBCC. The

remaining allegation is a conclusion of law to which no response is required.

15.     Defendants admit that defendant Matthew Way was a Correction Officer at

SBCC. The remaining allegation is a conclusion of law to which no response is required.

16.     Defendants admit that defendant Ryan Burke was a Correction Officer at SBCC.

The remaining allegation is a conclusion of law to which no response is required.

17.     Defendants are unaware of a Joshua Smith who was a Correction Officer at

SBCC. In any event, he is no longer a defendant in this case, and, therefore, no further

response is required.

18.     Defendants admit that defendant Jeffrey Bussiere was a Sergeant at SBCC. The

remaining allegation is a conclusion of law to which no response is required.

19.     Defendants are unaware of a Sylvia who was a Sergeant at SBCC. In any event,

he is no longer a defendant in this case, and, therefore, no further response is required.

20.     Defendants are unaware of a John Doe who was a Correction Officer at SBCC. In

any event, he is no longer a defendant in this case, and, therefore, no further response is

required.




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21.     Angela D’Antonio is not represented by Department counsel, and, therefore, no

response is required.

22.     U Mass Correctional Health is not represented by Department counsel, and,

therefore, no response is required.

23.     Defendants admit that defendant Department of Correction is an agency of the

Commonwealth within the Executive Office of Public Safety and Security. The

remaining allegation is a conclusion of law to which no response is required.

24.     Admit.

25.     The allegation is a conclusion of law to which no response is required.

26.     Nurse Sue is not represented by Department counsel, and, therefore, no response

is required.

                              FACTUAL ALLEGATIONS

27.     Defendants are without sufficient information as to this allegation, and it is,

therefore, denied.

28.     Defendants are without sufficient information as to this allegation, and it is,

therefore, denied.

29.     Defendants are without sufficient information as to this allegation, and it is,

therefore, denied.

30.     Defendants are without sufficient information as to this allegation, and it is,

therefore, denied.

31.     Defendants are without sufficient information as to this allegation, and it is,

therefore, denied.




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32.     Defendants are without sufficient information as to this allegation, and it is,

therefore, denied.

33.     Defendants admit only to the extent that plaintiff was transferred from MCI-Cedar

Junction to SBCC on May 3, 2009.

34.     Denied.

35.     Defendants admit only to the extent that plaintiff was sprayed with OC spray and

was physically forced into the cell while in restraints as a result of plaintiff’s refusal to

comply with orders to enter the cell and his actions in physically resisting the officers.

The cell was a two-person cell and another inmate was housed in that cell.

36.     Defendants admit only to the extent that he was physically forced into the cell.

Defendants are without sufficient information as to whether his shoulder struck the bed

and the floor, and, therefore, this allegation is denied.

37.     Defendants admit that before the OC spray was used, plaintiff stated that he had

asthma.

38.     Denied.

39.     Denied. Plaintiff was asked if he would like a shower to rinse the agent, and

plaintiff refused to answer. The Department’s regulations speak for themselves.

40.     Denied.

41.     Denied.

42.     Defendants are without sufficient information with regard to the allegation

contained in this paragraph, and it is, therefore, denied.

43.     Denied.




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44.     Defendants are without sufficient information with regard to the allegation

contained in this paragraph, and it is, therefore, denied.

45.     Defendants admit only to the extent that on August 4, 2009 plaintiff was

scheduled for a court appearance in federal court in Boston. Defendants are without

sufficient information as to the remainder of this allegation, and it is, therefore, denied.

46.     Defendants admit that defendant Farley advised plaintiff that he needed to be fully

restrained to go to court, which includes leg irons.

47.     Defendants are without sufficient information as to this allegation, and it is,

therefore, denied.

48.     Defendants admit only to the extent that plaintiff told defendant Farley that he

would not voluntarily leave the facility in leg irons because of a medical condition, an

injured knee.

49.     Defendants admit only to the extent that the mittimus envelope contained a

restraint modification form with a denial by defendant Gelb. This information was

conveyed to plaintiff, who still refused to go with the transportation officer. Defendants

are without sufficient information with regard to the clothing, and that allegation is,

therefore, denied.

50.     Defendants are without sufficient information as to this allegation, and it is,

therefore, denied.

51.     Defendants are without sufficient information as to this allegation, and it is,

therefore, denied.

52.     Denied.

53.     Denied.




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54.     Denied.

55.     Denied.

56.     Denied.

57.     Denied.

58.     Denied.

59.     Denied.

60.     Denied.

61.     Denied.

62.     Denied.

63.     Defendants admit only to the extent that defendants Legere and Dodd arrived to

assist defendant Farley with plaintiff, who was refusing to go to the state transportation

vehicle and was on the floor with his legs outstretched.

64.     Denied.

65.     Defendants admit only to the extent that after defendant Legere gave a direct

order to plaintiff to move from the booking area to the state transportation vehicle,

plaintiff refused to move. Defendant Legere warned plaintiff that force, including the use

of chemical weapons, would be used.

66.     Denied.

67.     Denied.

68.     Denied.

69.     Defendants admit that plaintiff was in full restraints and was on the floor when

defendant Legere applied the OC spray.

70.     Denied.




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71.     Defendants admit only to the extent that defendant Dodd offered plaintiff a wheel

chair, assisted him into it, and placed Jones into a holding cell so that he could get water.

72.     Denied.

73.     Defendants admit only to the extent that he was not permitted to change his

clothing or to shower; plaintiff was seen by medical staff and was decontaminated.

74.     Denied.

75.     Denied.

76.     Defendants admit only to the extent that Haverty authorized the use of OC spray

in plaintiff’s facial area.

77.     Denied.

78.     Defendants are without sufficient information as to what records were reviewed

prior to the planned use of force, and the allegation is, therefore, denied. The

Department’s regulations speak for themselves.

79.     Defendants are without sufficient information as to what records were reviewed

prior to the use of OC spray, and the allegation is, therefore, denied. The Department’s

regulations speak for themselves.

80.     Denied. Further, the Department’s policies, regulations, and SBCC procedures

speak for themselves.

81.     Denied.

82.     Denied. Further, the Department’s regulations speak for themselves.

83.      Defendants are without sufficient information as to whether Haverty was

disciplined with regard to this incident, and, therefore, this allegation is denied. Further,

the Department’s regulations speak for themselves.




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84.       Denied.

85.       The Department’s regulations speak for themselves.

86.       The Department’s regulations speak for themselves.

87.       Denied.

88.       Denied.

                                    CLAIMS FOR RELIEF

          The allegations contained under this heading are conclusions of law to which no

response is required.

                                    RELIEF REQUESTED

          The allegations contained under this heading are by way of conclusion to which

no response is required.

                                 AFFIRMATIVE DEFENSES

1.        Plaintiff's Complaint fails to state a claim upon which relief can be granted.

2.        Defendants are not responsible for any loss or injury allegedly suffered by

plaintiff, if any loss or injury, in fact, occurred.

3.        Defendants are entitled to qualified immunity.

4.        Defendants are entitled to sovereign immunity.

5.        Plaintiff's claim is barred by the applicable statute of limitations.

6.        Plaintiff has failed to exhaust all available administrative remedies prior to filing

suit.

7.        Because of his own acts or omissions, plaintiff is estopped from raising any of the

claims he may have against Defendants for any of the matters asserted in his Complaint.




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8.      Defendants at all times acted reasonably, in good faith, within their official

discretion, and not in disregard of settled principles of constitutional law with respect to

all matters alleged in plaintiff’s Complaint.

        Defendants to reserve the right to supplement their Answer with additional

affirmative defenses.

     DEFENDANTS REQUEST A TRIAL BY JURY ON ALL ISSUES SO TRIABLE.



                                                 Respectfully submitted,

                                                 NANCY ANKERS WHITE
                                                 Special Assistant Attorney General

DATED: September 27, 2013                        /s/ C. Raye Poole
                                                 C. Raye Poole
                                                 B.B.O. # 632719
                                                 Department of Correction
                                                 Legal Division
                                                 70 Franklin Street, Suite 600
                                                 Boston, MA 02110
                                                 (617) 727-3300 ext. 147

                                   Certificate of Service

                I, C. Raye Poole, counsel for Department Defendants, hereby certify that
        on this 27th day of September 2013, I served a copy of the above motion by first
        class mail, postage prepaid, on plaintiff Antonio Jones W70710 at his last known
        address, MCI-Concord, P.O. Box 9106, Concord, MA 01742.

                                                 /s/ C. Raye Poole
                                                 C. Raye Poole




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